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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


        -v-
                                                                No. 17-cr-337 (RJS)
                                                                     ORDER
 RAHEEM J. BRENNERMAN,

                               Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

       The Court is in receipt of a pro se letter from Defendant Raheem J. Brennerman, requesting

that the Court order certain discovery from the government and ICBC (London) plc, the victim in

this case, which discovery Brennerman believes will assist him in preparing a forthcoming motion

for compassionate release under 18 U.S.C. § 3582(c)(1)(A). (Doc. No. 248.) For the reasons set

forth below, Brennerman’s request for discovery is DENIED.

       As an initial matter, Brennerman asserts that he is entitled to discovery from ICBC under

28 U.S.C. § 1782. (Doc. No. 248 at 1.) But Brennerman misapprehends the purpose of that

statutory provision. Section 1782 “permits a district court . . . to order a person within its

jurisdiction to ‘give his testimony or statement or to produce a document or other thing for use in

a proceeding in a foreign or international tribunal.’” Mees v. Buiter, 793 F.3d 291, 294 (2d Cir.

2015) (quoting 28 U.S.C. § 1782(a)). In other words, the statute provides for discovery where that

discovery will be used in a legal proceeding happening abroad. It does not, as Brennerman

suggests, supply criminal defendants with the right to seek discovery from foreign entities for use

in U.S.-based criminal proceedings.
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       But even if § 1782 could be stretched to the limits urged by Brennerman, there is no

indication in Brennerman’s letter that the Court has jurisdiction over ICBC, the London branch of

a Chinese entity, for purposes of a discovery request related to a post-conviction motion for

compassionate release. See In re del Valle Ruiz, 939 F.3d 520, 524 (2d Cir. 2019) (explaining that

“§ 1782’s reach [extends only] to the limits of personal jurisdiction consistent with due process”).

The mere fact that ICBC was a victim of Brennerman’s criminal scheme does not automatically

confer personal jurisdiction over this London-based bank.

       And to the extent that Brennerman’s pro se letter can be construed as a request to issue a

subpoena to ICBC under Federal Rule of Criminal Procedure 17 and 28 U.S.C. § 1783, that too

fails. As Judge Kaplan explained when declining to enforce a subpoena Brennerman issued to

ICBC in another criminal matter, “ICBC is a foreign bank located approximately 3,500 miles from

the courthouse” and “is not a national of the United States who is in a foreign country,” meaning

that “Section 1783(a) does not authorize issuance of a subpoena to it.”             United States v.

Brennerman, No. 17-cr-155 (LAK), 2017 WL 4513563, at *2 (S.D.N.Y. Sept. 1, 2017) (internal

quotation marks omitted).

       Of course, the legal niceties of statutory authority and personal jurisdiction have never

deterred Brennerman from making demands of this sort, and it bears noting that the instant

discovery request is simply the latest in a long string of nearly identical requests from Brennerman

that are largely an attempt to retry his case. Unfortunately, Brennerman has never “offered [any]

justification for the indiscriminate introduction of evidence that was not introduced at trial.” (Doc.

No. 166 at 2.) So, for that reason and others, the Court has rejected each of Brennerman’s prior

requests, which primarily sought the same information that he pursues in his present motion. (E.g.,

Doc. Nos. 153, 161, 166, 187, 235.) In the interim, the Second Circuit has affirmed Brennerman’s

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conviction, explaining that the government complied with its disclosure obligations in this case,

and that “[t]he only indication that [the] documents [Brennerman seeks] are extant comes from

Brennerman’s bare assertions.” United States v. Brennerman, 818 F. App’x 25, 29–30 (2d Cir.

2020); see also Doc. No. 247 (mandate issued following the Second Circuit’s denial of a similar

“motion for discovery relief” submitted by Brennerman). Brennerman’s letter supplies no reason

for the Court to deviate from these past rulings.

         Accordingly, Brennerman’s request for discovery is DENIED. The Clerk of Court is

respectfully directed to terminate the motion pending at docket number 248, and to mail a copy of

this order to Brennerman.



SO ORDERED.

Dated:         November 5, 2020
               New York, New York

                                                        RICHARD J. SULLIVAN
                                                        UNITED STATES CIRCUIT JUDGE
                                                        Sitting by Designation




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